




NO. 07-07-0376-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JANUARY 28, 2008



______________________________





HEATH JAMES GRIMES,



Appellant



v.



THE STATE OF TEXAS,



Appellee



_________________________________



FROM THE COUNTY COURT AT LAW NO. 2 OF RANDALL COUNTY;



NO. 2006-1659-L; HON. RONALD WALKER, JR., PRESIDING





_______________________________



Memorandum Opinion



_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Appellant Heath James Grimes was convicted of misdemeanor theft of property of the value of $50 or more but less than $500. &nbsp;On September 4, 2007, appellant filed a notice of appeal. &nbsp;The State has filed a motion to permanently abate this appeal and attached a death certificate stating that appellant died on January 5, 2008. &nbsp;At the time of his death, no mandate from this appellate court had been issued.

If an appellant in a criminal case dies after an appeal is perfected but before the mandate of the appellate court is issued, the appeal should be permanently abated. &nbsp;
Tex. R. App. P.
 7.1(a)(2). &nbsp;The death of an appellant during the pendency of his appeal deprives an appellate court of jurisdiction. &nbsp;
Hanson v. State
, 790 S.W.2d 646 (Tex. Crim. App. 1990). &nbsp;The appeal and any further proceedings are ordered permanently abated.



Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice



Do not publish.


